                Case 19-11172-mdc                   Doc         Filed 03/13/24 Entered 03/13/24 08:56:57                              Desc Main
                                                                Document      Page 1 of 3
 .Fill in this information to identify the case:
     Debtor1                Martina M. Everette

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the : EASTERN District of Pennsylvania
                                                               (State)
     Case number 19-11172-mdc




Form 4100R
Response to Notice of Final Cure                                                                    10/15
___________________________________________________________________________________________________________
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:             Mortgage Information


     Name of creditor: Lakeview Loan Servicing, LLC.                                                                           Court claim no. (if known): 19
     Last 4 digits of any number you use to identify the debtor’s account: 0061

     Property address:             4629 GREENE ST ,
                                   Number          Street

                                   PHILADELPHIA, PA 19144
                                   City                                 State        ZIP Code
 Part 2:             Prepetition Default Payments

 Check one:

     [X]         Creditor agrees that the debtor(s) have paid in full amount required to cure the prepetition default on the
                 creditor’s claim

     [ ]         Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
                 creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this
                 response is:                                                                                                           $___________
 .


 Part 3:             Postpetition Mortgage

 Check one:

     [X]         Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
                 Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

                 The next postpetition payment from the debtor(s) is due on:              04/01/2024
                                                                                          MM/DD/YYYY

     [ ]         Creditor states that the debtors are not current on all postpetition payments consistent with § 1322 (b)(5) of the
                 Bankruptcy Code, including all fees charges expenses, escrow, and costs.

                 Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                 a. Total postpetition ongoing payments due:                                                                              (a) $_________
                 b. Total fees, charges, expenses, escrow and costs outstanding:                                                        + (b) $_________
                 c. Total. Add lines a and b.
                                                                                                                                          (c) $_________
                 Creditor asserts that the debtor(s) are contractually
                 obligated for the postpetition payment(s) that first became
                 due on:
                                                                                          MM/ DD/ YYYY




 Form 4100R                                            Response to Notice of Final Cure Payment                                                       page 1
                   Case 19-11172-mdc                               Doc   Filed 03/13/24 Entered 03/13/24 08:56:57                    Desc Main
Debtor 1       Martina M. Everette                                       Document Case Page 2 of
                                                                                         number      3
                                                                                                (if known) 19-11172-mdc
               First Name         Middle Name              Last Name




Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in
Part 3 that the debtor(s) are not current with all postpetition payments, including all fees, charges
expenses, escrow, and costs, the creditor must attach an itemized payment history disclosing the
following amounts from the date of the bankruptcy filing through the date of this response:

[X] all payments received;
[X] all fees, costs, escrow, and expenses assessed to the mortgage; and
[X] all amounts the creditor contends remain unpaid


Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.

               X      /s/ Shellie A. Labell                                                         Date 03/12/2024
                      Signature



 Print                Shellie A. Labell                                                             Title Authorized Agent
                      First Name                         Middle Name        Last Name


 Company              Robertson, Anschutz, Schneid, Crane & Partners, PLLC

If different from the notice address listed on the proof of claim to which this response applies:



 Address              130 Clinton Rd #202
                      Number                    Street


                      Fairfield, NJ 07004
                      City                                 State               ZIP Code


 Contact              470-321-7112                                                                                 Email slabell@raslg.com




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                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on March 13, 2024, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, and a true and correct copy has been served
via United States Mail to the following:

Martina M. Everette
4629 Greene Street
Philadelphia, PA 19144

And via electronic mail to:

MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

United States Trustee
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107


                                                  By: /s/ Alora Phelps

                                                  Email: aphelps@raslg.com




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